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                                                                             1
                                                                                 J. BRUCE ALVERSON, ESQ.
                                                                             2   Nevada Bar No. 1339
                                                                                 KARIE N. WILSON, ESQ.
                                                                             3   Nevada Bar No. 7957
                                                                                 ALVERSON TAYLOR
                                                                             4   MORTENSEN & SANDERS
                                                                                 6605 Grand Montecito Pkwy, Ste. 200
                                                                             5   Las Vegas, NV 89149
                                                                                 702-384-7000 Phone
                                                                             6   702-385-7000 Fax
                                                                                 Attorneys for Defendants
                                                                             7

                                                                             8                             UNITED STATES DISTRICT COURT

                                                                             9                               FOR THE DISTRICT OF NEVADA
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                            10   JIMMY PETERSON, individually, and as               CASE NO:
                                                                                 Guardian ad Litem for CHARLOTTE-MARIE-
                                                                            11   SMITH-PETERSON, a minor,
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12                              Plaintiffs,
                                                LAS VEGAS, NV 89149
                                                    (702) 384-7000




                                                                            13   v.
                                                      LAWYERS




                                                                            14   TELICIA DA’SHANEE HALL, an individual;
                                                                                 NEW PRIME, INC., a Foreign Corporation; and
                                                                            15   DOES I through X, inclusive

                                                                            16                           Defendants.
                                                                                 __________________________________________
                                                                            17

                                                                            18        DEFENDANT NEW PRIME, INC.’S STATEMENT CONCERNING REMOVAL

                                                                            19         COMES NOW Defendant NEW PRIME, INC. and provides the following Statement

                                                                            20   Concerning Removal:

                                                                            21         1.     The dates on which you were served with a copy of the Complaint in the removed

                                                                            22   action: Defendant NEW PRIME, INC. received a copy of the Complaint via personal service on

                                                                            23   June 30, 2017. Upon information and belief, Defendant TELICIA DA’SHANEE HALL has not

                                                                            24   yet been properly served with the Summons and Complaint.
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                                                                                 Case 2:17-cv-01860-JCM-CWH Document 2 Filed 07/06/17 Page 2 of 4




                                                                             1          2.      The dates on which you were served with a copy of the Summons: Defendant

                                                                             2   NEW PRIME, INC. was served with a copy of the Summons on June 30, 2017.

                                                                             3          3.      In removals based on diversity jurisdiction, the names of any served defendants

                                                                             4   who are citizens of Nevada, the citizenship of the other parties and a summary of defendant’s

                                                                             5   evidence of the amount in controversy:       The removal of this action is based on diversity

                                                                             6   jurisdiction. Upon information and belief, Plaintiffs JIMMY PETERSON and CHARLOTTE-

                                                                             7   MARIE SMITH-PETERSON are and remain citizens of the State of Nevada. Upon information

                                                                             8   and belief, Defendant TELICIA DA’SHANEE HALL is and remains a citizen of the State of

                                                                             9   Missouri. Defendant NEW PRIME, INC. is a Nebraska corporation.
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                            10          In addition, Defendant removed this action based on its belief that the amount in

                                                                            11   controversy, exclusive of interest and costs, exceeds $75,000.00. Plaintiffs have alleged that
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12   they sustained personal injuries, including “disability, mental and physical pain and suffering,
                                                LAS VEGAS, NV 89149
                                                    (702) 384-7000




                                                                            13   disfigurement, loss of enjoyment of life, hedonic damages and loss of household services.”
                                                      LAWYERS




                                                                            14   Plaintiffs further allege that they have incurred medical bills and expenses. Plaintiff JIMMY

                                                                            15   PETERSON further alleges that he has sustained and may in the future sustain “loss of income

                                                                            16   and/or impairment of earning capacity, the exact amount to be determined at the time of trial.”

                                                                            17   See e.g., Plaintiff’s Complaint at ¶¶ X, XI and XII.

                                                                            18          4.      If your notice of removal was filed more than thirty (30) days after you first

                                                                            19   received a copy of the summons and complaint, the reason removal has taken place at this time

                                                                            20   and the date you first received a paper identifying the basis of removal: Not applicable. The

                                                                            21   Notice of Removal was filed within thirty (30) days after Defendant first received a copy of the

                                                                            22   Summons and Complaint.

                                                                            23   ...

                                                                            24   ...
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                                                                             1          5.     In actions removed on the basis of the Court’s jurisdiction in which the action in

                                                                             2   state court was commenced more than one year before the date of removal, the reasons this

                                                                             3   action should not summarily be remanded to the state court. Not applicable. The Notice of

                                                                             4   Removal was not filed more than one year after the state court action was commenced.

                                                                             5   Plaintiff’s original Complaint was filed in the Eighth Judicial District Court for Clark County,

                                                                             6   Nevada, on June 27, 2017.

                                                                             7          6.     The name of any defendant known to have been served before you filed the notice

                                                                             8   of removal who did not formally join in the notice of removal and the reasons they did not: Not

                                                                             9   applicable. Upon information and belief, Defendant NEW PRIME, INC. is the only Defendant
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                            10   who has been served with the Summons and Complaint.

                                                                            11          Dated this 6th day of July, 2017.
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12                                                      ALVERSON, TAYLOR
                                                LAS VEGAS, NV 89149




                                                                                                                                    MORTENSEN & SANDERS
                                                    (702) 384-7000




                                                                            13
                                                      LAWYERS




                                                                            14
                                                                                                                                    ____________________________________
                                                                            15                                                      J. BRUCE ALVERSON, ESQ.
                                                                                                                                    Nevada Bar No. 1339
                                                                            16                                                      KARIE N. WILSON, ESQ.
                                                                                                                                    Nevada Bar No. 7957
                                                                            17                                                      6605 Grand Montecito Pkwy, Ste. 200
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                                                                                                                                    702-385-7000 Fax
                                                                            19                                                      Attorneys for Defendants

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                                                                             1
                                                                                                                  CERTIFICATE OF ELECTRONIC SERVICE
                                                                             2
                                                                                           I certify that on the 6th day of July, 2017, service of the above and foregoing
                                                                             3
                                                                                 DEFENDANT NEW PRIME, INC.’S STATEMENT CONCERNING REMOVAL was
                                                                             4
                                                                                 made by electronically filing a true and correct copy of the same to each party addressed as
                                                                             5
                                                                                 follows:
                                                                             6
                                                                                 Steven M. Burris, Esq.
                                                                             7   sb@steveburrislaw.com
                                                                                 Samuel B. Benham, Esq.
                                                                             8   samb@steveburrislaw.com
                                                                                 LAW OFFICES OF STEVEN M. BURRIS
                                                                             9   2810 W. Charleston Blvd., Ste. F-58
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                                 Las Vegas, NV 89102
                                                                            10   702-258-6238 Phone
                                                                                 702-258-8280 Fax
                                                                            11   Attorneys for Plaintiffs
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12
                                                LAS VEGAS, NV 89149




                                                                                                                                                          ____________________________________
                                                    (702) 384-7000




                                                                            13
                                                      LAWYERS




                                                                                                                                                          Employee of ALVERSON, TAYLOR
                                                                            14                                                                            MORTENSEN & SANDERS
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